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UNITED STATES OF AMERICA

JAN 1 6 2020
vs. oe
uggs SSIRIcr cour
WILLIAM GARFIELD BILBROUGH, IV __ ev ms RYLAND DEPUT
Criminal No. CBD 20-mj-00194 Government’s Exhibits

INITIAL APPEARANCE HEARING

 

 

 

 

Exhibit No. | Identification Admitted Description
1 01/16/2020 01/16/2020 Photo
2 01/16/2020 01/16/2020 Photo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit List (Rev. 3/1999)
